              Case 2:07-cr-00046-JCC Document 7 Filed 09/13/06 Page 1 of 2




 1
 2
 3
                              UNITED STATES DISTRICT COURT
 4                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 5
 6 UNITED STATES OF AMERICA,             )
                                         )
 7                                       )
                  Plaintiff,             )              CASE NO.      06-139 M
 8           v.                          )                            06-5134 M
                                         )
 9   KENNETH PATRICK MACDONALD,          )              DETENTION ORDER
                                         )
10                Defendant.             )
                                         )
11   ___________________________________ )
12 Offense charged:
13            Bank Robbery, in violation of Title 18, U.S.C., Section 2113(a).
14 Date of Detention Hearing: September 13, 2006
15            The Court, having conducted an uncontested detention hearing pursuant to Title
16 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
17 detention hereafter set forth, finds that no condition or combination of conditions which the
18 defendant can meet will reasonably assure the appearance of the defendant as required and
19 the safety of any other person and the community. The Government was represented by
20 Doug Whalley for Bruce Miyake. The defendant was represented by Thomas Hillier.
21       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22            (1) The instant offense involves several bank robbery and robbery attempts
23                 involving a stolen car and a firearm. Due to the nature and seriousness of
24                 the crime, release of the defendant would pose a risk of danger to the
25                 community.
26            (2) The defendant stipulates detention at this time.

     DETENTION ORDER
     PAGE -1-
             Case 2:07-cr-00046-JCC Document 7 Filed 09/13/06 Page 2 of 2




 1 Thus, there is no condition or combination of conditions that would reasonably assure
 2 future court appearances.
 3           It is therefore ORDERED:
 4           (l) Defendant shall be detained pending trial and committed to the custody of
 5                the Attorney General for confinement in a correctional facility separate, to
 6                the extent practicable, from persons awaiting or serving sentences, or being
 7                held in custody pending appeal;
 8           (2) Defendant shall be afforded reasonable opportunity for private
 9                consultation with counsel;
10           (3) On order of a court of the United States or on request of an attorney for the
11                Government, the person in charge of the correctional facility in which
12                Defendant is confined shall deliver the defendant to a United States
13                Marshal for the purpose of an appearance in connection with a court
14                proceeding; and
15           (4) The clerk shall direct copies of this order to counsel for the United States,
16                to counsel for the defendant, to the United States Marshal, and to the
17                United States Pretrial Services Officer.
18           DATED this 13th day of September, 2006.
19



                                                       A
20
21
                                                       MONICA J. BENTON
22
                                                       United States Magistrate Judge
23
24
25
26


     DETENTION ORDER
     PAGE -2-
